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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


ARSLAN AKHMETOV,

                   Plaintiff,

v.                                            Case No: 6:21-cv-1148-PGB-EJK

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

                   Defendant.
                                      /

                                     ORDER

      This cause is before the Court on Defendant’s Motion to Stay, filed

November 18, 2021. (Doc. 22 (the “Motion”)). Plaintiff did not file a response.

Upon consideration, the Motion is due to be granted.

      On June 16, 2021, Plaintiff filed a complaint against Defendant Healthcare

Revenue Recovery Group, LLC (“Healthcare”), in state court. (Doc. 1-1). Then,

on July 14, 2021, Healthcare timely removed the case to this Court. (Doc. 1). In its

Complaint, Plaintiff alleges Healthcare violated § 1692c(b) of the Fair Debt

Collection Practices Act and § 559.72(5) of the Florida’s Consumer Collection

Practices Act by unlawfully transmitting Plaintiff’s personal information to a third-

party for generation of the debt collection letter. (Doc. 1-1). Defendant now

requests to stay the litigation due to the pending en banc review of Hunstein v.

Preferred Collection & Mgmt. Servs., Inc., No. 19-14434, 2021 WL 5353154, at *1
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(11th Cir. Nov. 17, 2021), positing that it is a question of exceptional importance

for the instant case. (Doc. 22, pp. 2–4).

         District courts have broad discretion to stay proceedings. Clinton v. Jones,

520 U.S. 681, 706 (1997). Nevertheless, staying a matter is an extraordinary

measure that should only be employed to further the ends of justice, and the

district court should resolve any doubts against issuing a stay. See Bank of Am.,

N.A. v. Sullivan, No. 8:13-cv-385, 2013 WL 2285079, at *2 (M.D. Fla. May 23,

2013). A stay of proceedings is based on a balancing test that evaluates both the

interests of the parties and the interests of the Court. See Lanard Toys Ltd. v. Toys

“R” US-Del., Inc., No. 3:15-cv-849, 2017 WL 5256870, at *4–5 (M.D. Fla. Nov. 13,

2017).

         The Court agrees that Hunstein contains a matter of exceptional importance,

and the instant case should be stayed pending its resolution. On October 28, 2021,

the Eleventh Circuit vacated Hunstein to address the Supreme Court’s opinion in

TransUnion v. Ramirez, 141 S. Ct. 2190 (2021), and it ultimately reached the same

conclusion that transmitting a plaintiff’s personal information to a third-party for

generation of the debt collection letter fell within the meaning of § 1692c(b) and

created a concrete injury necessary for Article III standing. No. 19-14434, 2021 WL

4998980 (11th Cir. Oct. 28, 2021). However, on November 17, 2021, the Eleventh

Circuit granted a rehearing en banc and again vacated the prior opinion. 2021 WL

5353154, at *1 (11th Cir. Nov. 17, 2021). Thus, it is nonsensical to proceed with this

case when the Eleventh Circuit may hold that Plaintiff does not have standing to



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bring this claim in the first instance. Therefore, in the interests of both the parties

and the Court to avoid superfluous litigation, the case is due to be stayed pending

the resolution of Hunstein.

      Accordingly, it is ORDERED AND ADJUDGED as follows:

          1. Defendant’s Motion to Stay (Doc. 22) is GRANTED.

          2. This case is hereby STAYED.

          3. The Clerk of Court is DIRECTED to administratively close the file.

      DONE AND ORDERED in Orlando, Florida on December 6, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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